  Case 8-18-75875-las          Doc 21      Filed 11/20/18        Entered 11/20/18 12:39:13




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                X

In re:                                                     Chapter I
                                                           Case No. 18-75875-las
         ZOLTAN KAROLY KOVACS,

                       Debtors.
                                                 X




    NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS


          PLEASE TAKE NOTICE,that the undersigned appears as the attorney for 30
Thompson AW Holdings, LLC,and 9 Minetta AW Holdings, LLC and pursuant to Rules 2002
and 9007 of the Federal Rules of Bankruptcy Procedures and 11 U.S.C§1109(b), demands that all
notices given or required to be given in this case and all papers served or required to be served in
this case, be given to and served upon the undersigned at the office set forth below.


          PLEASE TAKE FURTHER NOTICE,that the foregoing demand includes not only the
notices and papers referred to in the Rules specified above, but also, includes, without limitation,
orders and notices of any application, motion, schedules, disclosure statement, plan, petition,
pleading, request, complaint or demand, whether formal or informal, whether written or oral and
whether transmitted or conveyed by mail delivery, telephone, fax or otherwise, which affect or
seek to affect in any way any the rights or interests of the undersigned party in interest with
respect to the estate ofthe above named Debtor or the property ofthe estate ofthe above named
Debtor.

DATED: Islandia, New York                                  MACCO & STERN,LLP
           November 20, 2018                               Attorneys for 30 Thompson AW Holdings LLC
                                                           9 Minetta AW Holdings LLC

                                                     By:   /s/Cooper Macco
                                                           Cooper Macco, Esq.
                                                            2950 Express Drive South
                                                            Suite 109
                                                            Islandia, New York 11749
                                                            631-549-7900
